Case 1:25-cv-00339-JDB   Document 2-2   Filed 02/05/25   Page 1 of 5




                     EXHBIT B
        Case 1:25-cv-00339-JDB          Document 2-2       Filed 02/05/25      Page 2 of 5




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


AFL-CIO, et al.,

Plaintiffs,

v.                                                    Case No.

DEPARTMENT OF LABOR, et al,

Defendants.



                   DECLARATION OF MATTHEW GINSBURG, AFL-CIO


I, Matthew Ginsburg, declare as follows:


     1. I am the General Counsel of the American Federation of Labor and Congress of

        Industrial Organizations (“AFL-CIO”). I submit this declaration in support of Plaintiffs’

        application for a temporary restraining order in this matter. The statements made in this

        declaration are based on my personal knowledge, materials I have reviewed, and

        information made available to me pursuant to my duties at the AFL-CIO.


     2. The AFL-CIO is a federation of 63 national and international labor organizations with a

        total membership of 15 million working men and women. The AFL-CIO is committed to

        the idea that all working people deserve good jobs.


     3. The AFL-CIO and its affiliate unions routinely engage with the Department of Labor and

        its agencies and programs in pursuit of the mission to ensure good jobs for all working

        people.



                                                 1
   Case 1:25-cv-00339-JDB         Document 2-2        Filed 02/05/25      Page 3 of 5




4. The AFL-CIO’s affiliate unions routinely bring complaints and claims on their own

   behalf and on behalf of individual workers under the various minimum working condition

   statutes enforced by the Department of Labor, including the Fair Labor Standards Act

   (minimum wages and overtime), to the Wage and Hour Division, and the Occupational

   Safety and Health Act, to the Occupational Safety and Health Administration.


5. Frequently these claims are brought on behalf of vulnerable workers who, without the

   Department of Labor's assistance, would be deprived of even minimum wages and safe

   working conditions.


6. When we or our affiliates assist union members or other workers with these claims, we

   are able to assure those workers that the Department of Labor will keep their identities

   and their complaints confidential. This assurance is vital because fear of employer

   retaliation is a powerful deterrent to employees from seeking assistance from the

   Department to enforce their workplace rights.


7. For many workers, this confidentiality is essential to the decision to come forward. They

   reasonably fear retaliation by their employer otherwise. And because many of these

   workers are economically vulnerable, they cannot risk any loss of income or other

   retaliation.


8. DOGE’s access to other government systems has been well publicized. And DOGE is

   identified with Elon Musk, who is the owner of major U.S. employers subject to

   regulation by the Department of Labor. Even brief access by DOGE to the Department of

   Labor’s records will show the workers we serve that they cannot trust the Department of

   Labor to keep the sensitive information they submit confidential, deterring them from

                                            2
       Case 1:25-cv-00339-JDB           Document 2-2        Filed 02/05/25     Page 4 of 5




       seeking relief or assistance from the Department.


   9. If DOGE is allowed to access the Department of Labor’s records concerning complaints

       and investigations, the willingness of workers to raise complaints to the Department of

       Labor will be chilled.


   10. Members and retirees of the AFL-CIO’s affiliate unions also routinely submit claims

       under programs administered by the Office of Workers’ Compensation Programs at the

       Department of Labor. In addition to the Federal Employees’ Compensation Program,

       private sector employees submit claims under other programs administered by DOL.

       These include the Black Lung Program, which provides benefits to coal miners disabled

       by pneumoconiosis arising out of coal mining employment pursuant to the Black Lung

       Benefits Act, and the Energy Workers Program, which compensates former employees of

       the Department of Energy who are diagnosed with cancer or other diseases as a result of

       exposure to radiation or other toxic exposure while employed at certain Department of

       Energy facilities or mining operations pursuant to the Energy Employees Occupational

       Illness Compensation Program Act.


   11. If DOGE is allowed to access these claims, highly personal medical information will be

       disclosed in violation of claimants’ privacy interests and also creating a risk that workers

       who may be entitled to benefits under the Federal Employees’ Compensation Act, the

       Black Lung Benefits Act, and the Energy Employees Occupational Illness Compensation

       Program Act will be chilled from submitting such claims in the future.


I declare under penalty of perjury that the foregoing is true and correct.

Executed on February 5, 2025, in Washington, DC

                                                 3
Case 1:25-cv-00339-JDB   Document 2-2    Filed 02/05/25   Page 5 of 5




                  /s/ Matthew Ginsburg_______
                      Matthew Ginsburg




                                4
